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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK




GHAZI ABU NAHL and NEST INVESTMENTS
HOLDING LEBANON SAL, individually and on
behalf of LEBANESE CANADIAN BANK,

                 Plaintiffs,

            v.
                                                No. 15-cv-09755 (LGS) (JCF)
GEORGES ZARD ABOU JAOUDE, MOHAMED
HAMDOUN, AHMAD SAFA, OUSSAMA                    Before: Hon. Lorna G. Schofield
SALHAB, CYBAMAR SWISS GMBH, LLC,
MAHMOUD HASSAN AYASH, HASSAN                    Discovery Matters Assigned to:
AYASH EXCHANGE COMPANY, and ELLISSA                     Magistrate Judge
HOLDING COMPANY,                                        James C. Francis IV

                 Defendants,

          and

LEBANESE CANADIAN BANK,

                 Nominal Defendant.



     PLAINTIFFS’ APPLICATION FOR THE ISSUANCE OF REQUESTS FOR
      INTERNATIONAL JUDICIAL ASSISTANCE (LETTERS ROGATORY)
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       Plaintiffs Ghazi Abu Nahl and Nest Investments Holding Lebanon SAL respectfully

petition this Court pursuant to Federal Rules of Civil Procedure 4(h) and 4(f)(2)(B) for the

issuance of Requests for International Judicial Assistance (Letters Rogatory) to the courts of

Lebanon and Togo, in order to effect service of process upon Defendants Georges Zard Abou

Jaoude, Ahmad Safa, Oussama Salhab, Mahmoud Hassan Ayash, Hassan Ayash Exchange

Company, Ellissa Holding Company, and Lebanese Canadian Bank.

       Plaintiffs have attached to this application as Exhibits 1-7 a Request for International

Judicial Assistance for each of these Defendants. Plaintiffs respectfully request that the Court

sign and affix its seal to each of these letters and return the letters with original signatures and

seals to Plaintiffs’ counsel for forwarding, along with the papers to be served and requisite

certified translations, to the United States Department of State at the following address:

               Office of American Citizen Services
               CA/OCS/ACS
               U.S. Department of State
               SA-29 4th Floor
               2201 C Street, NW
               Washington, DC 20520-0001

       The U.S. Department of State will oversee transmission of the Requests for International

Judicial Assistance to Lebanon and Togo through diplomatic channels as provided in 28 U.S.C.

§ 1781(a)(2), as well as their presentation to the requested courts in Lebanon and Togo.

       Plaintiffs have included in the proposed Requests an expression by this Court of its

willingness to reimburse the courts of Lebanon and Togo for costs incurred in executing these

Requests, in accordance with the stated requirements of the U.S. Department of State. See

http://travel.state.gov/content/travel/english/

legal-considerations/judicial/obtaining-evidence/preparation-letters-rogatory.html; see also

Fujitsu Ltd. v. Nanya Tech. Corp., 4:06-cv-06613-CW, Dkt. No. 41 (N.D. Cal. Dec. 27, 2006)

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(signed Request for International Judicial Assistance for service of process in Taiwan). Plaintiffs

stand ready to reimburse this Court, the U.S. Department of State, or the courts of Lebanon and

Togo for any expenses incurred in connection with the execution of these Requests for

International Judicial Assistance. Plaintiffs will also deposit with the Department of State six

certified checks payable to the U.S. Embassy Lebanon and one payable to the U.S. Embassy

Togo, one check for each Request and each check in the amount of $2,275, in accordance with

the schedule of fees at 22 C.F.R § 22.1.

                                           BACKGROUND

I.     The Money Laundering Scheme

       This action was commenced with the filing of a Complaint on December 14, 2015,

verified by Plaintiff Ghazi Abu Nahl. As alleged in the Complaint, the Defendants participated

in a money laundering scheme to transfer cash proceeds through Lebanon, West Africa, and the

United States. These proceeds supported Hezbollah. The Complaint alleges that each of the

Defendants played a key role in the money laundering scheme, and thereby violated the

Racketeer Influenced and Corrupt Organizations Act. As part of this scheme, Defendants

fraudulently induced Plaintiffs to invest in the Lebanese Canadian Bank, and subsequently

mismanaged the Bank to personally enrich themselves to the detriment of Plaintiffs.

II.    Location of Defendants

       Georges Zard Abou Jaoude, Ahmad Safa, Mahmoud Hassan Ayash, Hassan Ayash

Exchange Company, Ellissa Holding Company, and Lebanese Canadian Bank are resident in

Lebanon. Lebanon is not a party to the Convention of 15 November 1965 on the Service Abroad

of Judicial and Extrajudicial Documents in Civil or Commercial Matters (“Hague Service

Convention”).



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       Oussama Salhab is resident in Togo. Togo is not a party to the Hague Service

Convention.

                                          DISCUSSION

       Service upon foreign defendants may be issued through a variety of means and “Rule 4(f)

does not create a hierarchy of preferred means of service[.]” Gramercy Ins. Co. v. Kavanagh,

No. 3:10-CV-1254-D, 2011 WL 1791241, at *1 (N.D. Tex. May 10, 2011). A letter rogatory is a

“document issued by one court to a foreign court[.]” Lantheus Med. Imaging, Inc. v. Zurich Am.

Ins. Co., 841 F. Supp. 2d 769, 775 (S.D.N.Y 2012) (quoting Black’s Law Dictionary 778 (9th ed.

2009)) (internal quotation marks omitted). Such requests from one court to another are “usually

granted, by reason of the comity existing between nations in ordinary peaceful times.” Int’l

Soc’y for Krishna Consciousness, Inc. v. Lee, 105 F.R.D. 435, 438 n.3 (S.D.N.Y. 1984) (quoting

The Signe, 37 F. Supp. 819, 820 (E.D. La. 1941)). “Both private parties, including corporations

and natural persons, and governmental entities — whether in U.S. or foreign litigation — may

seek the issuance of letters rogatory ‘for use in both underlying civil lawsuits and underlying

criminal prosecutions.’” Lantheus, 841 F. Supp. 2d at 776. The power of the federal courts to

issue letters rogatory derives from 28 U.S.C. § 1781 and from the court’s inherent authority.

See, e.g., United States v. Reagan, 453 F.2d 165, 171-73 (6th Cir. 1971). Title 28, United States

Code, Section 1781 states, in relevant part:

       (a) The Department of State has power, directly, or through suitable channels . . .

               (2) to receive a letter rogatory issued, or request made, by a tribunal in the United
               States, to transmit it to the foreign or international tribunal, officer, or agency to
               whom it is addressed, and to receive and return it after execution.

28 U.S.C. § 1781.




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        Service may be effected by letters rogatory when there is no internationally agreed means

of service. Fed. R. Civ. P. 4(f)(2)(B). As noted above, Lebanon and Togo are not members of

the Hague Service Convention and Plaintiffs are not aware of any other internationally agreed

means of service that exists.

        Issuance of letters rogatory is necessary to bring Defendants before this Court.

Alternative means of service are unlikely be successful. See, e.g., Kaplan v. Hezbollah, 715 F.

Supp. 2d 165, 166 (D.D.C. 2010) (service in Lebanon could not be effected by overnight

delivery service because it could not be determined with certainty that such service complied

with Lebanese law). Furthermore, such issuance will increase the likelihood that a judgment of

this Court will be enforceable by courts in Lebanon and Togo against assets held there. See

Edward Burton, Service of Process Abroad, Am. Bar Ass’n, Gen. Prac., Solo & Small Firm Div.

Mag. (Oct. 1999) (“The great advantage of the letters rogatory procedure lies in the

enforceability of the American judgment in the country where service of process was issued.”);

Government’s Memorandum of Law in Support of Its Motion for Permission to Effect Service

Through Alternative Means and Issuance of Letters Rogatory, United States v. Lebanese

Canadian Bank SAL, No. 11 Civ. 9186 (PAE) (S.D.N.Y. May 4, 2012) (“The Government

requests the issuance of letters rogatory not as an alternative to authorization to effect service by

service on U.S. counsel, but in addition to that method of service in order to maximize the

likelihood that a judgment in this matter will be enforceable in the relevant foreign

jurisdictions.”).




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                                          CONCLUSION

       For the reasons discussed above, Plaintiffs respectfully request that this Court:

       (1) grant Plaintiffs’ Application for Issuance of Requests for International Judicial

Assistance (Letters Rogatory) and execute the Letters Rogatory, submitted herewith as Exhibits

1-7, and return such letters to Plaintiffs’ counsel to perfect service on the Defendants in the

Republics of Lebanon and Togo;

       (2) order the Clerk of Court to reissue summonses clarifying that the Defendants must

serve their respective answers to the Complaint on or before a date consistent with any

scheduling order the Court may enter in this action; and

       (3) issue certified copies of all documents to be served on each Defendant, specifically,

(i) the Complaint, (ii) the Summons, (iii) the Scheduling Order, and (iv) Judge Schofield’s

Individual Rules of Practice.



Dated: March 2, 2016                         Respectfully submitted,

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                                             By:    s/ Anthony Herman

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